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                     EXHIBIT F
    21-11298-lgb        Doc 24-6   Filed 08/19/21 Entered 08/19/21 15:22:12           Exhibit F
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                        DOCUMENT RE-EXECUTION AGREEMENT
In consideration of the loan in the principal amount of EIGHT MILLION AND 00/100
($8,000,000.00) DOLLARS (the “Loan”) made by Be-Aviv 286 Rider LLC (the “Lender”) to
the undersigned Borrower as of the 19th day of September, 2019, and to induce Lender to make
said loan evidenced by a Promissory Note and other ancillary documents of even date herewith,
and secured by, inter alia, that certain Mortgage and Security Agreement of even date herewith,
(as may be amended, restated or modified from time to time, the “Mortgage”, and such other
documents as have been executed and/or delivered by Borrower to Lender in connection with the
Loan (as may be amended, restated or modified from time to time, the “Loan Documents”), the
undersigned do hereby represent and promise as follows:

                 1.     The undersigned parties will re-execute any document or instrument
         signed in connection with the Loan, or will execute any document or instrument that
         should have been signed at or before the closing of the Loan, or which was incorrectly
         drafted and/or signed.

                 2.     In the event of any miscalculation, misapplication or error in payment or
         collections of monies at closing, Borrower agrees to correct the same upon request.

                 3.      Borrower shall execute and deliver, or cause to be executed and delivered
         to Lender, all other instruments, certificates and agreements as Lender or Lender’s
         counsel may reasonably require, including, but not limited to, an estoppel certificate
         stating that the Loan is in full force and effect and that there are no defenses or offsets
         thereto, or any document, certificate, instrument or agreement reasonably required by
         Lender or Lender’s counsel to effect, confirm or assure the rights, remedies and liens
         intended to be granted or conveyed to Lender under the Note, the Mortgage or any other
         Loan Document.

                4.      Each request by Lender pursuant to Paragraph 1, 2 or 3 above shall receive
         full cooperation and compliance by the undersigned Borrower by execution or re-
         execution (as the case may be) and delivery at Lender’s office located in New York, NY
         or such other location as Lender may designate within seven (7) days of Lender’s making
         such request. Failure to so comply shall constitute an event of default under said Note,
         Mortgage and Loan Documents.

                          [Remainder of this Page Intentionally Left Blank]




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 The undersigned hereby executes this Document Re-Execution Agreement as of the day set forth
 above.




                                                       286 RIDER AVE ACQUISITION LLC



                                                       By:
                                                              Name: Toby Moskovits
                                                              Title:     Authorized Signatory



                                                       286 RIDER AVE DEVELOPMENT LLC



                                                       By:
                                                              Name: Tolpy Moskovits
                                                              Title:    Authorized Signatory




                                                       Toby Moskovits


                                                          I
                                                       Yechral Michael Lichtenstein




STATE OF NEW YORK                  )
                                   ) ss.:
COUNTY OF NEW YORK )


          On the        day of September in the year 2019 before me, the undersigned, personally
appeared Toby Moskovits, personally known to me or proved to me on the basis of satisfactory
evidence to be the individual whose name                     is   subscribed to   the   within   instrument and
acknowledged to me that she executed the same in her capacity, and that by her signature on the
instrument, the individual, or the person on behalf of which the individual acted, executed the
instrument.

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009960-012/00205244-1                       Errors and Omissions Statement 2
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                                                Pg 4 of 4




STATE OF NEW YORK                  )
                                   ) ss.:
COUNTY OF NEW YORK                 )


          On the Q       day of September in the year 2019 before me, the undersigned, personally
appeared Yechiaf Michael Lichtenstein, personally known to me or proved to me on the basis of
satisfactory evidence to be the individual whose name is subscribed to the within instrument and
acknowledged to me that he executed the same in his capacity, and that by his signature on the
instrument, the individual, or the person on behalf of which the individual acted, executed the
instrument.




                                             Notary Public
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                                                                                            STATE

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                                                                                         NEW YORK               \
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009960-012/00205244-1                       Errors and Omissions Statement 3
